                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                                AT KNOXVILLE
 ______________________________________________________________________________

 CHERALEE A. CARR                               )
                                                )
                        Plaintiff,              )
                                                )
        v.                                      )      Civil Action No. 3:09-cv-308
                                                )      District Judge Varlan
 REGIONAL ADJUSTMENT                            )      Magistrate Judge Shirley
 BUREAU, INC., JANE DOE, and                    )
 JILL DOE,                                      )      Jury Trial Demanded
                                                )
                        Defendants.             )



                     STIPULATION OF DISMISSAL WITH PREJUDICE


        IT IS HEREBY STIPULATED AND AGREED to by the Plaintiff and Defendant

 Regional Adjustment Bureau, Inc., by and through their attorneys, that the above-entitled action

 against all Defendants shall be and hereby is dismissed with prejudice and on the merits, without

 costs, or disbursements, or attorneys’ fees to any party and that an order of dismissal with prejudice

 as to Defendants may be entered in the above-entitled action pursuant hereto.

        Respectfully submitted this 25th day of March 2010.


                                                Attorney for Plaintiff


                                                /s/    Alan C. Lee
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                                              Attorneys for Regional Adjustment Bureau, Inc.



                                              /s/ Jessica H. Shafer
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 25, 2010, a copy of the foregoing was filed electronically.
 Notice of this filing will be sent by operation of the Court’s electronic case filing system to all
 parties indicated on the electronic filing receipt. Parties may access this filing through the
 Court’s electronic case filing system.



                                              /s/     Alan C. Lee
                                              Alan C. Lee, Esq.
                                              Attorney for Plaintiff




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